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                         ANTHONY THOMAS and WENDI
                     6   THOMAS and AT EMERALD, LLC
                     7
                     8
                     9                                      UNITED STATES BANKRUPTCY COURT
                 10                                                       DISTRICT OF NEVADA
                 11                                                            —ooOoo—
                 12      In Re:                                                      Case No. BK-N-14-50333-BTB
                                                                                     Case No. BK-N-14-50331-BTB
                 13      ANTHONY THOMAS and                                          Chapter 11 Cases
                         WENDI THOMAS,
                 14                                                                  [Jointly Administered]
                 15      AT EMERALD, LLC,                                            MOTION TO SELL ASSETS FREE
                                                                                     AND CLEAR OF LIENS AND
                 16                                                                  MOTION TO FILE PURCHASE AND
                                                                                     SALE AGREEMENT UNDER SEAL
                 17
                                    Debtors.                                         Hearing Date: OST Pending
                 18      ______________________________/                             Hearing Time: OST Pending
                 19                 Debtor, AT EMERALD, LLC, a Nevada limited liability company (hereinafter “AT
                 20      Emerald” or “Debtor”), by and through its undersigned counsel, Alan R. Smith, Esq., of the
                 21      Law Offices of Alan R. Smith, hereby files its Motion To Sell Assets Free And Clear Of
                 22      Liens And Motion to File Purchase and Sale Agreement Under Seal (“Motion”) and moves
                 23      this Court for an order authorizing the sale of a certain emerald owned by the Debtor. This
                 24      Motion is made and based upon 11 U.S.C. § 363(b) and 363(f)(3), the points and authorities
                 25      set forth below, the Declaration Of Anthony Thomas In Support Motion To Sell Assets Free
                 26      And Clear Of Liens And Motion to File Purchase and Sale Agreement Under Seal, the
                 27      pleadings and papers on file herein, and such other matters as may be presented at the hearing
                 28      hereon.
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                     1                                               POINTS AND AUTHORITIES
                     2              A.         Overview Of Motion
                     3              This Motion seeks authority for the Debtor to sell its only asset, a 21,000 carat
                     4   emerald. As set forth below, the sale is for cash, and is sufficient to pay all creditors in the
                     5   case, as well as all creditors in the companion case of ANTHONY THOMAS and WENDI
                     6   THOMAS, Case No. BK-N-14-50333-BTB (the “Thomas Bankruptcy Case”) in full. The
                     7   Debtor will request that this Motion be heard on shortened time, with escrow to close three
                     8   days following entry of an order approving the sale. Debtor believes that this sale will
                     9   resolve all of the obligations in this case, as well as in the Thomas Bankruptcy Case. The
                 10      following describes more specifically the terms of the sale.
                 11                 B.         The Proposed Sale
                 12                 1.         Assets to be sold.
                 13                 The Debtor is the owner of a certain 21,000 carat emerald matrix (the “Emerald”).
                 14      The Emerald is currently located at Sarasota Vault, 640 South Washington Blvd., Ste. 125,
                 15      Sarasota, Florida, 34236.
                 16                 2.         Purchase price and terms.
                 17                 Attached hereto as Exhibit “A” is a fully executed copy of the Purchase And Sale
                 18      Agreement (hereinafter the “Agreement”). Under the Agreement, Koyo Shipping And
                 19      Trading Corporation (hereinafter “Koyo”) agrees to purchase the Emerald for cash, payable
                 20      at close of escrow. Pursuant to the Agreement, both parties have requested that the purchase
                 21      price not be disclosed in any public document, but be filed with the Court under seal. For
                 22      the reasons set forth in section 9, the actual purchase price has been redacted from the
                 23      Agreement. The purchase price is sufficient to pay all secured claims, as well as all
                 24      unsecured claims in full. The purchase price is to be paid in cash, within three days
                 25      following entry of an order approving the sale or three days following the inspection and
                 26      acceptance of the Emerald by Koyo. The Agreement provides that Koyo shall have eleven
                 27      days following execution of the Agreement to approve the condition of the Emerald, and that
                 28      the Debtor shall have ten days following execution of the Agreement to confirm that Koyo
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                     1   has sufficient cash to consummate the transaction. By the date of the hearing on this Motion,
                     2   both conditions will likely have been satisfied, as the Agreement was executed on June 19,
                     3   2014 and the conditions are required to be met not later that June 30.
                     4              3.         Overbidding not allowed.
                     5              No overbidding will be allowed at the hearing. For the reasons set forth herein, and
                     6   at the request of the parties to the transaction, the actual purchase price is not disclosed in any
                     7   public document. Furthermore, the purchase price is in excess of all of the secured
                     8   obligations of AT Emerald, as well as the combined unsecured obligations of AT Emerald,
                     9   and the Thomas Bankruptcy Case. All creditors in the Thomas Bankruptcy Case will also
                 10      be provided notice of this sale.
                 11                 4.         Description of lienholders.
                 12                 There are certain claims that have asserted a security interest against the Emerald,
                 13      which are identified as follows:
                 14       NAME OF CREDITOR                                NATURE OF                    APPROXIMATE
                 15                                                       SECURITY INTEREST            AMOUNT OF
                                                                                                       SECURED CLAIM
                 16       John Beach                                      Security Agreement and       $540,000.00
                                                                          UCC-1 Financing
                 17                                                       Statement
                 18       Kenmark Ventures, LLC                           Alleged security interest    $4,500,000.00, together
                                                                          evidenced by UCC-1 filing    with interest and attorneys’
                 19                                                       with the State of Nevada     fees (disputed by Debtor)
                 20       Sarasota Vault Depository,                      Rental Agreement             $1,200.00
                          Inc.
                 21
                 22                 The Debtor proposes that all money obtained from the sale of the Emerald, except the
                 23      debt to Sarasota Vault of approximately $1,200.00, remain on deposit in a segregated trust
                 24      account at Wells Fargo Bank. Following close of escrow, the Debtor will resolve through
                 25      agreement or litigation the amount owed to its various creditors, as well as the creditors in
                 26      the Thomas Bankruptcy Case, and pay all creditors in full. The Debtor may also seek release
                 27      of a portion of the sale proceeds by separate motion, in order to employ and pay state court
                 28      counsel and to provide living expenses to Anthony and Wendi Thomas, leaving sufficient
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                     1   sums in the trust account in order to resolve all claims in both bankruptcy cases.
                     2              5.         Amount of unsecured debts.
                     3              The only unsecured debt listed in the AT Emerald case is Sarasota Vault in the amount
                     4   of approximately $1,200.00. This debt will be paid immediately from the sale proceeds in
                     5   order to allow the Emerald to be released. The unsecured debts listed in the Thomas
                     6   Bankruptcy Case total $1,262,568.94. Accordingly, the total of all secured and unsecured
                     7   debts in both cases is $6,303,768.94. The sales price exceeds the amount necessary to pay
                     8   all creditors in both cases.
                     9              6.         Marketing efforts and valuation.
                 10                 Anthony Thomas has been marketing the Emerald for more than 8 years through
                 11      various connections. Due to the unusual nature of the Emerald, normal marketing procedures
                 12      are not applicable. In any event, since the sale proceeds are more than sufficient to pay all
                 13      creditors in full in this case, a determination of the exact value of the Emerald, or whether
                 14      the Debtor has obtained the best purchase price possible, is not necessary.
                 15                 7.         No agreement with management or key employees.
                 16                 Koyo has not entered into any separate agreement with Anthony Thomas, Wendi
                 17      Thomas, or any entities or affiliates of either of them.
                 18                 8.         Sale of Emerald to be free and clear of liens under 11 U.S.C. § 363(f).
                 19                 Once the Court determines that a valid business justification exists for the sale, thus
                 20      permitting the sale of estate assets prior to confirmation of a plan of reorganization, the Court
                 21      must determine whether such a sale can be made free and clear of existing liens. Section
                 22      363(f) of the Bankruptcy Code governs the sale of property of the estate free and clear of
                 23      liens and provides, in pertinent part, the following:
                 24                        (f) The trustee may sell property under subsection (b) and (c) of this
                                    section free and clear of any interest in such property of an entity other than
                 25                 the estate only if –
                 26                                   (1)    applicable non-bankruptcy law permits sale of such
                                               property free and clear of such interest;
                 27
                                                          (2)       such entity consents;
                 28
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                     1                                (3) such interest is a lien and the price at which such property
                                               is to be sold is greater than the aggregate value of all liens on such
                     2                         property;
                     3                                    (4)      such interest is in bona fide dispute; and
                     4                               (5)     such entity could be compelled, in a legal or equitable
                                               proceeding, to accept a money satisfaction of such interest.
                     5
                     6   11 U.S.C. § 363(f).
                     7              Section 363(f) is written in the disjunctive; thus, satisfaction of any one of the five
                     8   conditions is sufficient to sell the property free and clear of liens. See, e.g., Citicorp
                     9   Mortgage, Inc. v. Brooks (In re Ex-Cel Concrete Co.), 178 B.R. 198, 203, n.7 (9th Cir. BAP
                 10      1995); Citicorp Homeowners Svcs., Inc. v. Elliot (In re Elliot), 94 B.R. 343, 355 (Bankr.
                 11      E.D. Pa. 1988).
                 12                 Pursuant to section 363(f)(2), a sale may be consummated if any asserted interest in
                 13      the property consents. The Debtor believes that the secured creditors in this case will consent
                 14      to the sale. In any event, pursuant to section 363(f)(3), the price at which the Emerald is to
                 15      be sold it greater than the aggregate value of all asserted liens against the Emerald, and
                 16      accordingly the sale may be approved on that basis as well.
                 17                 9.         Purchase price not disclosed.
                 18                 As set forth above, the purchase price is in excess of the amount required to pay all
                 19      claims in both the above-captioned case and the Thomas Bankruptcy Case. Anthony and
                 20      Wendi Thomas request that the purchase price remain undisclosed. As set forth in 11 U.S.C.
                 21      § 107(c), information need not be disclosed if it would create undue risk of unlawful injury
                 22      to the individual. As stated in Collier on Bankruptcy, ¶ 107.04 (16th ed.),
                 23                            Section 107(c) gives the court broad discretion to protect an
                                               individual with respect to any information, including identifying
                 24                            information, in a paper filed or to be filed with the court to the
                                               extent that the court finds that disclosure of the information
                 25                            would create an undue risk of identify theft or unlawful injury
                                               to the individual or the individual’s property.
                 26
                                               ...
                 27
                                               Unlike section 107(b), section 107(c) requires a showing of
                 28                            cause. It does not require a request to the court; although most
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                     1                         orders under the section will be initiated in that manner, the
                                               court can act sua sponte. There is also no requirement that a
                     2                         request be made by a party in interest. However, the protection
                                               of the subsection extends only to individuals, and only to
                     3                         prevent injury to the person or property of individuals.
                     4   In this case, disclosure of the actual purchase price poses a risk to the individual Debtors
                     5   Anthony and Wendi Thomas and is not necessary. Debtor will file under seal an non-
                     6   redacted copy of the Purchase And Sale Agreement with the Court.
                     7              10.        Conclusion.
                     8              Debtor submits that the proposed sale should be approved. The sale is for a value far
                     9   in excess of all secured and unsecured claims of both this estate and the Thomas Bankruptcy
                 10      Case. The sale is to be consummated in a short period of time, and the proceeds of this sale
                 11      are protected in an interest bearing trust account. It is in the best interests of the estate for
                 12      this sale to be consummated.
                 13                 DATED this 23rd day of June, 2014.
                 14                                                              LAW OFFICES OF ALAN R. SMITH
                 15                                                              By:     /s/ Alan R. Smith
                                                                                   ALAN R. SMITH, ESQ.
                 16                                                                Attorney for Debtors
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